Case 1:23-cv-21224-CMA Document 6 Entered on FLSD Docket 04/06/2023 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 23-21224-CIV-ALTONAGA/Damian

 ROKIT WORLD, INC.; et al.,

        Plaintiffs,
 v.

 WILLIAMS GRAND PRIX
 ENGINEERING LIMITED, et al.,

       Defendants.
 _______________________________/

                                             ORDER

        THIS CAUSE came before the Court sua sponte. On March 31, 2023, the Court entered

 an Order [ECF No. 4] dismissing Plaintiffs’ Complaint [ECF No. 1] for failing to sufficiently

 allege subject matter jurisdiction. The Court gave Plaintiffs the opportunity to file an amended

 complaint showing the Court has jurisdiction. (See id. 3). On April 5, 2023, Plaintiffs filed an

 Amended Complaint [ECF No. 5]. Because the Amended Complaint shows the parties lack

 complete diversity of citizenship under 28 U.S.C. section 1332, it is due to be dismissed.

        Under section 1332, federal courts have diversity jurisdiction over civil actions between

 citizens of different states or foreign countries where the amount in controversy exceeds $75,000.

 See 28 U.S.C. § 1332. To avail themselves of diversity jurisdiction, plaintiffs must plead complete

 diversity between all plaintiffs and all defendants. See Lincoln Prop. Co. v. Roche, 546 U.S. 81,

 89 (2005). “It is a standard rule that federal courts do not have diversity jurisdiction over cases

 where there are foreign entities on both sides of the action, without the presence of citizens of a

 state on both sides.” Iraola & Cia, S.A. v. Kimberly-Clark Corp., 232 F.3d 854, 860 (11th Cir.

 2000) (citation omitted); see 15A James William Moore, Moore’s Federal Practice Civil § 102.77
Case 1:23-cv-21224-CMA Document 6 Entered on FLSD Docket 04/06/2023 Page 2 of 2

                                                  CASE NO. 23-21224-CIV-ALTONAGA/Damian


 (2023) (“[D]iversity jurisdiction does not encompass suits by foreign plaintiffs against foreign

 defendants. This exclusion extends to cases involving an alien on one side and an alien plus a U.S.

 citizen on the other.” (alteration added; footnote call numbers omitted)).

        Plaintiffs allege subject-matter jurisdiction exists under 28 U.S.C. section 1332. (See Am.

 Compl. ¶ 1). But only Plaintiff Rokit World, Inc. is a U.S. citizen. (See id. ¶ 3). Plaintiff Rokit

 World Limited, as well as all Defendants, are foreign citizens. (See id. ¶¶ 4–8). Federal case law

 is clear that this configuration — foreign parties on both sides of a dispute, yet with state parties

 on only one side — renders diversity incomplete. See Iraola & Cia, S.A., 232 F.3d at 860; Molinos

 Valle Del Cibao, C. por A. v. Lama, 633 F.3d 1330, 1340 (11th Cir. 2011) (explaining that

 “alienage jurisdiction prohibits an alien from suing another alien in federal court unless the suit

 includes United States citizens as plaintiffs and defendants” (citation omitted)). Without complete

 diversity, the Court cannot exercise subject-matter jurisdiction under section 1332.

        Accordingly, it is

        ORDERED AND ADJUDGED that the Amended Complaint [ECF No. 5] is

 DISMISSED without prejudice. The Clerk shall close the case.

        DONE AND ORDERED in Miami, Florida, this 6th day of April, 2023.



                                                  _______________________________________
                                                  CECILIA M. ALTONAGA
                                                  CHIEF UNITED STATES DISTRICT JUDGE

 cc:    counsel of record




                                                  2
